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   II.    Legal Standard

           “It is well-established that a party seeking a stay of discovery carries the heavy
   burden of making a strong showing why discovery should be denied.” NMS 1539,
   LLC v. City of Santa Monica, No. 2:20-cv-11318-FLA (JPRx), 2022 WL 3575311,
   at *1 (C.D. Cal. July 26, 2022) (internal quotation marks omitted). “The Federal
   Rules of Civil Procedure do not provide for automatic or blanket stays of discovery
   when a potentially dispositive motion is pending.” Id. (cleaned up); see also
   Skellerup Indus. Ltd. v. City of Los Angeles, 163 F.R.D. 598, 601 (C.D. Cal. 1995)
   (concluding that staying discovery simply because a dispositive motion is under
   consideration would be “directly at odds with the need for expeditious resolution of
   litigation” (internal quotation marks omitted))

          “[T]he power to stay proceedings is incidental to the power inherent in every
   court to control the disposition of the causes on its docket with economy of time and
   effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248,
   254 (1936). When considering whether to exercise this discretion, a court should
   examine “the competing interests which will be affected by the granting or refusal
   to grant a stay.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005) (citing
   CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)). The relevant interests are:
   1) “the possible damage which may result from the granting of a stay,” 2) “the
   hardship or inequity which a party may suffer in being required to go forward,” and
   3) “the orderly cause of justice measured in terms of the simplifying or complicating
   of issues, proof, and questions of law which could be expected to result from a stay.”
   Id. (quoting CMAX, 300 F.2d at 268).

   III.   Analysis

          The first factor weighs against granting a stay. As an initial matter, any motion
   that risks delaying the course of litigation also carries a risk of prejudicing the
   nonmoving party. See Trujillo v. Free Energy Sav. Co., No. 5:19-cv-02072-MCS-
   SP, 2020 WL 8028450, at *2 (C.D. Cal. Nov. 2, 2020); see also Blue Cross & Blue
   Shield of Ala. v. Unity Outpatient Surgery Ctr., Inc., 490 F.3d 718, 724 (9th Cir. 2007)
   (“Delay inherently increases the risk that witnesses’ memories will fade and
   evidence will become stale.” (internal quotation marks omitted)). The risk of
   prejudice is greater in cases that have been consolidated because potential delay
   could affect all parties to the unified action, not just those involved in this motion.
   Finally, the hearing on Spoken Giants’ motion is more than a month away. At this
   point, the Court cannot predict with any certainty when it may be able to issue an

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   order resolving the motion. Consequently, any stay could significantly curtail the
   period available to complete discovery before the August 28, 2023, discovery cutoff.
   (Order Re: Jury Trial § I, ECF No. 65.)

          The second factor weighs against granting a stay. “Spoken Giants has
   explained that denying the requested stay would force it to expend potentially
   needless resources to respond to dozens of discovery requests—including more than
   sixty requests for production—nearly all of which would be mooted by a second
   dismissal.” (Reply 6.) However, “being required to defend a suit, without more,
   does not constitute a ‘clear case of hardship or inequity’ within the meaning of
   Landis.” Lockyer, 398 F.3d at 1112. Further, while “Spoken Giants requests a stay
   of all discovery,” it concedes it will still be subject to some discovery even if its
   motion to dismiss is granted. (Reply 2–3.) Consequently, even if the Court were to
   grant the motion to dismiss, the alleged hardship would not be completely
   eliminated, as Spoken Giants would still need to disclose information in response to
   a number of Pandora’s discovery requests.

         The third factor likewise counsels against a stay. This case is highly complex
   and involves several related cases, not to mention claims and counterclaims from
   more than a dozen parties. Maintaining a manageable and predicable calendar is an
   indispensable tool to facilitate the presentation of proof and efficiently resolve
   questions of law. Given the multidimensional nature of the suit, the Court is not
   willing to inject yet another confounding variable that risks complicating the case
   management process for all parties.

   IV.    Conclusion

          For the reasons stated above, Spoken Giants’ motion is DENIED.

   IT IS SO ORDERED.




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